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                   IN THE SUPERIOR COURT OF FULTON COUNTY
                              STATEOF GEORGIA


IN RE 2 MAY 2022 SPECIAL PURPOSE
GRANDJURY                                             2022-EX-000024



          ORDER DISSOLVING SPECIAL PURPOSE GRAND JURY
         AND SETTING HEARING ON QUESTION OF PUBLICATION

       On 20 January 2022, the District Attorney of Fulton County petitioned the Chief

Judge of the Superior Court of Fulton County to convene the entire Superior Court bench

to consider the District Attorney's request for a special purpose grand jury. That grand

jury's charter, if approved, would be to conduct a criminal investigation into "the facts

and circumstances relating directly or indirectly to possible attempts to disrupt the lawful

administration of the 2020 elections in the State of Georgia" and to prepare a report on

whether anyone should be prosecuted for such potential crimes. On 24 January,2022,

the,C~·iefJudge, having received a majority of the twenty judges' assent, issued an Order

authorizing the convening of a special purpose grand jury for this criminal investigation.

       On 2 May 2022, the special purpose grand jury was selected and sworn in; in June

2022 it began receiving evidence and investigating the possibility of criminal interference

in the 2020 general election. The special purpose grand jury, after many months of

witness testimony, has now issued its final report pursuant to O.C.G.A. § 15-12-101(a).

·Based on the completion of that report, the undersigned subsequently recommended to

the Honorable Chief Judge Ural Glanville that the special purpose grand jury be dissolved.

O.C.G.A. § 15-12-101(b). Chief Judge Glanville then polled the entire Superior Court

bench, a majority of which voted to dissolve the special purpose grandjury. Id.



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       Given the special purpose grand jury's delivery of its final report, the undersigned's

recommendation, and the Superior Court bench's vote, it is the ORDER of this Court that

the special purpose grand jury now stands DISSOLVED. The Court thanks the grand

jurors for their dedication, professionalism, and significant commitment of time and

attention to this important matter. It was no small sacrifice to serve.

       Remaining is the question of publication of the final report.· The special purpose

grand jury certified that it voted to recommend that its report be published pursuant to

O.C.G.A.§ 15-12-80. That provision is mandatory: "the judge shall order the publication

as recommended." And that provision appears to apply to the work of special purpose

grand juries. O.C.G.A. § 15-12-102. Unresolved is the question of whether the special

purpose grand jury's final report constitutes a presentment. The Court invites argument

on this issue and sets the matter down for a hearing on 24 January 2023          at noon in

Courtroom 8-D. The District Attorney's Office shall be given an opportunity at that

time to provide its perspective as will any consolidated media intervenors. Argument

should focus on the applicability of O.C.G.A.§ 15-12-80 to the special purpose grand jury's

work as well as the precedential impact of In re July-August, 2003 DeKalb Cnty. Grand

Jury, 265 Ga. App. 870, 872-73 (2004); In re Floyd Cnty. Grand Jury Presentments for

May Term 1996, 225 Ga. App. 705, 707 (1997); and Kelley v. Tanksley, 105 Ga. App. 65,

66-6'7 (1961).

       SO ORDERED this 9th day of January 202




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                                                  Superior Court of Fulton County
                                                  Atlanta Judicial Circuit


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